Exhibit H
From: "Zack, Adrienne (USACAN)" <Adrienne.Zack@usdoj.gov>
Date: Friday, July 31, 2020 at 6:19 PM
To: Sean Riordan <SRiordan@aclunc.org>, Angelica Salceda <asalceda@aclunc.org>, "Beier,
Genna (PDR)" <genna.beier@sfgov.org>, "Ugarte, Francisco (PDR)"
<francisco.ugarte@sfgov.org>, Bree Bernwanger <bbernwanger@lccrsf.org>, Timothy Cook
<tcook@cooley.com>, Marty Schenker <mschenker@cooley.com>, Judah Lakin
<judah@lakinwille.com>, Amalia Wille <amalia@lakinwille.com>, "Maclean, Emilou (PDR)"
<emilou.maclean@sfgov.org>, Bill Freeman <wfreeman@aclunc.org>
Cc: "Choe, Shiwon (USACAN)" <Shiwon.Choe@usdoj.gov>, "Garbers, Wendy (USACAN)"
<Wendy.Garbers@usdoj.gov>, "Coleman, Susan E." <SColeman@bwslaw.com>
Subject: RE: Zepeda Rivas - COVID testing update

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   sources.



Counsel,

The names and information of the detainees in this message are designated CONFIDENTIAL pursuant
to the protective orders.

Detainee Santiago Pineda,               , was moved from the intake cell and placed in medical isolation.

Further, as previously stated, all detainees in B dorm were offered COVID-19 testing. 32 of the 33
detainees consented and were tested. The tests have been sent out for processing. The 33 detainees in
Dormitory B will continue to be cohorted, monitored and checked twice daily for any COVID-19
symptoms.

Regards,
Adrienne

From: Zack, Adrienne (USACAN)
Sent: Thursday, July 30, 2020 8:55 PM
To: Sean Riordan <SRiordan@aclunc.org>; Angelica Salceda <asalceda@aclunc.org>; Genna Beier
<genna.beier@sfgov.org>; Francisco Ugarte <francisco.ugarte@sfgov.org>; Bree Bernwanger
<bbernwanger@lccrsf.org>; Timothy Cook <tcook@cooley.com>; Marty Schenker
<mschenker@cooley.com>; Judah Lakin <judah@lakinwille.com>; Amalia Wille
<amalia@lakinwille.com>; Emilou Maclean <emilou.maclean@sfgov.org>; Bill Freeman
<wfreeman@aclunc.org>
Cc: Choe, Shiwon (USACAN) <SChoe@usa.doj.gov>; Garbers, Wendy (USACAN)
<wgarbers@usa.doj.gov>; Coleman, Susan E. <SColeman@bwslaw.com>
Subject: Zepeda Rivas - COVID testing update

Counsel,
The names and information of the detainees in this message are designated CONFIDENTIAL pursuant
to the protective orders. The remainder is not designated confidential.

Regarding Mr. Bonilla-Solano - He remains housed in medical at Mesa Verde, away from the other
detainees, due to his persistent positive COVID-19 testing. The medical staff reports that he is no longer
contagious—he is considered persistently positive by CDC guidelines—and he is off isolation precautions
pending removal to Honduras, which likely will be within a week.

Detainee Santiago Pineda,               , arrived at the Mesa Verde facility as a new detainee on July 29,
2020, and during intake, he consented to COVID-19 testing via the Abbott ID Now machine. He tested
positive for COVID-19. He was febrile and placed into medical isolation in an individual intake cell,
where he remains. He had contact with detainee Jaswant Singh,                   , during transport to the
facility. We will provide further updates regarding contact tracing as available.

Detainee Albert Orellana,              , was seen by medical staff at Mesa Verde on July 29, 2020,
because of his complaint of fever, headache, and body aches. He consented to testing for COVID-19 via
the Abbott ID Now machine and tested positive for COVID-19. He was placed into medical isolation in
one of the negative pressure rooms, where he remains. Because he was assigned to Dormitory B, that
dormitory and the detainees in it are on cohort for 14-day monitoring. As part of the cohorting, the 33
detainees in Dormitory B are being monitored and checked twice daily for any COVID-19 symptoms. Per
IHSC guidance, tests have not been offered to the cohorted detainees, but, as stated, the cohorted
detainees are being monitored for symptoms. The 33 detainees on cohort are listed below. We will
provide further updates regarding contact tracing as available.

(1)     Hector Estevan Abadin,                  ;
(2)     Ruben Alcala Almanza,                  ;
(3)     Juan Manuel Alvarez-Gonzalez,
(4)     Narcisco Aquino-Camiro,                 1;
(5)     Nestor Chavez,
(6)     Alberto Diaz-Solano,              ;
(7)     Alton Edmondson,                ;
(8)     Eder Said Erazo-Diaz,              ;
(9)     Moises Adrian Gallardo-Lopez,                           ;
(10)    Jose Guerra,            ;
(11)    Oswaldo Hernandez-Reyes,                            ;
(12)    Jaime Lopez-Solario,              ;
(13)    Israel Marin-Parra,             ;
(14)    Jose Dino Mejia,            ;
(15)    Jose Melgoza-Enriquez,                  ;
(16)    Antoni Mendoza,               ;
(17)    Jose Mendoza-Valdovinos,                        ;
(18)    Juan Minchaca-Ramos,
(19)    Jacinto Morales,
(20)    Henry Morales-Sanchez,
(21)    German Najera Grajeda,                      ;
(22)    Marcos Najera-Sandoval,
(23)    William Nickle,
(24)    Oscar Perez,
(25)   Lam Quan,
(26)   Hermelindo Rodriguez Galicia,
(27)   Edgar Rodriguez-Rojas,          ;
(28)   Jose Ruiz,              ;
(29)   Jaswant Singh
(30)   Gurmail Toor,
(31)   John Victorio,
(32)   Benito Villalobos-Sura,             ; and
(33)   Margarito Zamora-Guzman,


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